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                                        UNITED STATES DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA


                                           CIVIL MINUTES – GENERAL

 Case No.           LA CV13-00332 JAK (AJWx)                                       Date     September 5, 2013
 Title              Hsin-Cheng Chen v. Kelvin Sun




 Present: The Honorable                 JOHN A. KRONSTADT, UNITED STATES DISTRICT JUDGE

                       Andrea Keifer                                            Not Reported
                        Deputy Clerk                                      Court Reporter / Recorder
                Attorneys Present for Plaintiffs:                    Attorneys Present for Defendants:
                          Not Present                                            Not Present


 Proceedings:                 (IN CHAMBERS) ORDER DISMISSING CASE FOR LACK OF
                              PROSECUTION JS-6

On June 13, 2013, Magistrate Judge Zarefsky issued an Order to Show Cause re Dismissal ordering
Plaintiff to respond by June 21, 2013. Dkt. 13. On July 2, 2013, the case was reassigned to this Court
(Dkt. 14) and a second Order to Show Cause re Dismissal was filed directing Plaintiff to either: (i) respond
in writing no later than August 20, 2013 as to why the matter should not be dismissed for lack of
prosecution; or (ii) file an application for the entry of default as to Defendant Kelvin Sun. Dkt. 22. There
has been no response filed to either Order to Show Cause, nor has an application been filed as to the
named Defendant. Therefore, the Court dismisses the matter for lack of prosecution and failure to follow
the Court’s Orders.


IT IS SO ORDERED.
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                                                                Initials of Preparer   ak




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